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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiffs,              )
                                                )                      4:05CR3138
               v.                               )
                                                )
RANDY A. KNAUB,                                 )
                                                )     TENTATIVE FINDINGS ON OBJECTION
                       Defendants.              )         TO REVISED PRESENTENCE
                                                )          INVESTIGATION REPORT
                                                )


       The objection to the Revised Presentence Investigation Report is by defendant Knaub,
who objects to the two-level increase for obstruction of justice and the paragraphs that account
for this two-level increase.
       Resolution of this issue depends upon whether I make an independent decision that the
defendant testified under oath, giving false testimony concerning a material matter with the
willful intent to provide false testimony. United States v. Dunnigan, 507 U.S. 87 (1993). I
expect to examine my notes of the trial, as well as a transcript of the trial, and address each
element of the alleged perjury in a separate and clear finding for the purpose of determining
whether there has been “an obstruction of, or impediment to, justice that encompasses all the
factual predicates for a finding of perjury.” Id. 507 U.S. 87, 95 (1993), and U.S. v. Obdul-Aziz,
No. 06-3032 (8th Cir. May 29, 2007). Counsels’ arguments on the subject will be heard at the
sentencing hearing.
       Dated June 4, 2007.

                                       BY THE COURT

                                       s/ Warren K. Urbom
                                       United States Senior District Judge
